      Case 3:17-cv-01767-VAB Document 20 Filed 12/29/17 Page 1 of 25




                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF CONNECTICUT


                                        )
HYBRID ATHLETICS, LLC,                  )
                                        ) Case Action No. 3:17-CV-1767 (VAB)
          Plaintiff,                    )
                                        )
v.                                      )
                                        )
HYLETE LLC,                             )
                                        )
          Defendant.
                                        )




  DEFENDANT HYLETE’S MEMORANDUM OF POINTS AND AUTHORITIES IN
SUPPORT OF ITS MOTION TO DISMISS HYBRID ATHLETICS, LLC'S COMPLAINT
         OR, IN THE ALTERNATIVE, MOTION TO CHANGE VENUE
            Case 3:17-cv-01767-VAB Document 20 Filed 12/29/17 Page 2 of 25




                                                 TABLE OF CONTENTS

                                                                                                                                     Page

I. INTRODUCTION ...................................................................................................................1

II. RELEVANT FACTS ALLEGED IN PLAINTIFF’S COMPLAINT .......................................2

III. ARGUMENT ........................................................................................................................4

          A.        All Of Plaintiff’s Claims Are Barred By The Statute Of Limitations And / Or
                    Other Defects .......................................................................................................4

                    1.         Count I For Federal Trademark Infringement, Count II For False
                               Designation Of Origin And Unfair Competition, And Count IV For
                               Common Law Trademark Infringement Are Barred By The Statute Of
                               Limitations ...............................................................................................4

                    2.         Count III For Statutory Unfair Competition Is Barred By The Statute
                               Of Limitations, Is Not Pleaded With Particularity, And Is Preempted
                               By The Copyright Act ..............................................................................6

                    3.         Count V For Unjust Enrichment Is Barred By The Statute Of
                               Limitations ............................................................................................. 10

          B.        Claims I Through V Are Also Barred By The Doctrine Of Laches. .................... 10

          C.        In The Alternative, This Court Should Transfer Venue To The Southern
                    District Of California ......................................................................................... 12

                    1.         This Action Could Have Been Brought In The Southern District Of
                               California. .............................................................................................. 12

                    2.         Transfer Is Appropriate Because Plaintiff’s Choice Of Forum Here Is
                               Of Little Weight ..................................................................................... 13

                    3.         Transfer Is Appropriate Because The Locus Of Operative Facts Is In
                               The Southern District Of California ........................................................ 13

                    4.         The Convenience Of Witnesses Who Will Be Required To Offer
                               Testimony Favors Transfer ..................................................................... 14

                    5.         The Location Of Documents And Ease Of Access To Proof Favors
                               Transfer .................................................................................................. 14

                    6.         The Court’s Familiarity With The Governing Law Does Not Affect
                               The Transfer Analysis ............................................................................ 15




                                                                     i
DOCS 3151812.7
            Case 3:17-cv-01767-VAB Document 20 Filed 12/29/17 Page 3 of 25




                    7.        The Relative Means Of The Parties Who Are Both Corporations Does
                              Not Affect The Transfer Analysis ........................................................... 15

                    8.        The Availability Of Process To Compel Unwilling Non-Party
                              Witnesses Weighs In Favor Of Transfer .................................................16

IV. CONCLUSION ...................................................................................................................16




                                                                 II
DOCS 3151812.7
            Case 3:17-cv-01767-VAB Document 20 Filed 12/29/17 Page 4 of 25




                                              TABLE OF AUTHORITIES

                                                                                                                             Page(s)

FEDERAL CASES

800-Flowers, Inc. v. Intercontinental Florist, Inc.
   860 F. Supp. 128 (S.D.N.Y. 1994) ....................................................................................... 17

A.C. Aukerman Co. v. R.L. Chaides Constr. Co.
   960 F.2d 1020 (Fed. Cir. 1992)............................................................................................ 14

Adam v. Jacobs
   950 F.2d 89 (2d Cir. 1991) .................................................................................................. 15

Argus Research Grp., Inc. v. Argus Media, Inc.
   562 F. Supp. 2d 260 (D. Conn. 2008) ................................................................................ 6, 9

Ashcroft v. Iqbal
   556 U.S. 662 (2009) .............................................................................................................. 5

Aviamax Aviation Ltd. v. Bombardier Aerospace Corp.
   3:08-cv-1958(CFD), 2010 WL 1882316 (D. Conn. May 10, 2010) ...................................... 10

Bell Atl. Corp. v. Twombly
    550 U.S. 544 (2007) .............................................................................................................. 5

Charter Oak Fire Ins. Co. v. Broan-Nutone, LLC
   294 F. Supp. 2d 218 (D. Conn. 2003) .................................................................................. 17

Citigroup Inc. v. City Holding Co.
    97 F. Supp. 2d 549,563 (S.D.N.Y. 2000) ............................................................................. 17

Conopco, Inc. v. Campbell Soup Co.
   95 F.3d 187 (2d Cir.1996) ............................................................................................... 6, 14

Crawford v. Cuomo
   796 F.3d 252 (2d Cir. 2015) .................................................................................................. 5

CSL Silicones Inc. v. Midsun Grp. Inc.
   170 F. Supp. 3d 304 (D. Conn. 2016) ................................................................................ 6, 9

D.H. Blair & Co. v. Gottdiener
   462 F.3d 95 (2d Cir. 2006) .................................................................................................. 16

Dastar Corp. v. Twentieth Century Fox Film Corp.
   539 U.S. 23, 123 S. Ct. 2041, 156 L. Ed. 2d 18 (2003) .............................................. 2, 11, 12




                                                                  iii
DOCS 3151812.7
            Case 3:17-cv-01767-VAB Document 20 Filed 12/29/17 Page 5 of 25




Frontier Grp., Inc. v. Nw. Drafting & Design, Inc.
   493 F. Supp. 2d 291 (D. Conn. 2007) .................................................................................. 12

Ghartey v. St. John’s Queens Hosp.
   869 F.2d 160 (2d Cir. 1989) .................................................................................................. 5

In re Trilegiant Corp., Inc.
    11 F. Supp. 3d 82,120 (D. Conn. Mar. 28, 2014) ................................................................. 10

Jones v. Bock
   549 U.S. 199, 127 S. Ct. 910, 166 L. Ed. 2d 798 (2007) ........................................................ 5

MAK Marketing, Inc. v. Kalapos
  620 F. Supp. 2d 295 (D. Conn. 2009) .................................................................................. 17

Open Solutions Inc. v. Granite Credit Union
   No. 3:12-CV-1353 RNC, 2013 WL 5435105 (D. Conn. Sept. 29, 2013) .............................. 16

Peck v. Pub. Serv. Mut. Ins. Co.
   114 F. Supp. 2d 51 (D. Conn. 2000) ...................................................................................... 8

Pitney Bowes, Inc. v. Nat’l Presort, Inc.
    33 F.Supp.2d 130 (D.Conn.1998) ........................................................................................ 19

RBC Nice Bearings, Inc. v. Peer Bearing Co.
  410 F. App’x 362 (2d Cir. 2010) ....................................................................... 6, 7, 8, 10, 14

Rest. Supply, LLC v. Pride Mktg. & Procurement, Inc.
   No. 3-16-CV-1270 (MPS), 2017 WL 3444677 (D. Conn. Aug. 10, 2017) ...................... 16, 19

Saratoga Vichy Spring Co., Inc. v. Lehman
   625 F.2d 1037 (2d Cir. 1980)............................................................................................... 14

Slice of Pie Productions v. Wayans Bros. Entertainment
    392 F. Supp. 2d 297 (D. Conn. 2005) .................................................................................. 12

Sutton v. Rehtmeyer Design Co.
    114 F.Supp.2d 46 (D.Conn.2000) ........................................................................................ 18

STATE CASES

Certain Underwriters at Lloyd’s, London v. Cooperman
   957 A.2d 836 (Conn. 2008) ................................................................................................. 13

Fichera v. Mine Hill Corp.
   207 Conn. 204, 541 A.2d 472 (1988) ..................................................................................... 9

Lees v. Middlesex Ins. Co.
   229 Conn. 842, 643 A.2d 1282 (1994) ................................................................................... 8


                                                                IV
DOCS 3151812.7
             Case 3:17-cv-01767-VAB Document 20 Filed 12/29/17 Page 6 of 25




FEDERAL STATUTES, REGULATIONS, AND RULES

28 U.S.C.
   § 1404 ................................................................................................................................... 1
   § 1404(a) ................................................................................................................. 15, 16, 18

Copyright Act, 17 U.S.C. § 301..................................................................................... 2, 3, 4, 12

Federal Rules of Civil Procedure
   § 9(b) ............................................................................................................................ 10, 11
   § 45(c)................................................................................................................................. 20
   § 12(b)(6) .......................................................................................................................... 1, 5

STATE STATUTES, REGULATIONS, AND RULES

Conn. Gen. Stat. 42-110 .................................................................................................. 8, 10, 13

Conn. Gen. Stat. § 42-110g(f) ..................................................................................................... 9

Conn. Gen.Stat. § 52-577 .......................................................................................................... 13

Lanham Act
   §43(a).................................................................................................................................. 12

OTHER AUTHORITIES

1 Nimmer on Copyright § 1.01(B)(1)(e) .................................................................................... 12




                                                                      V
DOCS 3151812.7
            Case 3:17-cv-01767-VAB Document 20 Filed 12/29/17 Page 7 of 25




          Defendant Hylete, Inc. 1 (“Hylete” or “Defendant”) respectfully moves the Court for an

order dismissing Plaintiff Hybrid Athletic LLC’s (“Hybrid” or “Plaintiff”) claims against it

pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure. In the alternative, Hylete

moves to transfer this case to the United States District Court for the Southern District of

California pursuant to 28 U.S.C. § 1404. Defendant submits the following memorandum in

support of its motion to dismiss or, in the alternative, motion to change venue.

                                                     I.

                                           INTRODUCTION

          On its face, the complaint filed by Plaintiff discloses incurable legal defects that support

prompt dismissal of all of Plaintiff’s claims. Plaintiff’s own allegations establish that its claims

for trademark infringement and false designation of origin and unfair competition under federal

law, its statutory claim for unfair competition, and its common law claims for trademark

infringement and unjust enrichment are barred by the applicable statute of limitations.

          Plaintiff unequivocally alleges and reiterates throughout its complaint that Hylete’s use of

the allegedly infringing marks - the purportedly wrongful conduct that serves as a basis for

Plaintiff’s claims, commenced openly and publicly more than five years ago in April 2012, and

Plaintiff was aware of Hylete’s alleged use of the allegedly infringing marks at that time. Doc.

No. 1, ¶¶61, 60, 59, 49, 62, 63, 73, 96. Because the longest applicable statute of limitations for

each of Plaintiff’s claims is three years, this allegation alone establishes that each of Plaintiff’s

claims is time-barred and must be dismissed without leave to amend.

          Additionally, laches also bars Plaintiff’s claims. Although Plaintiff alleges that it

competes directly with Hylete in the marketing and distribution of goods to the “CrossFit

community, and to those interested in fitness in general” and that “Hylete’s target consumers are

1
    Defendant Hylete LLC recently converted to a corporation and is now Hylete, Inc.


                                                     1
DOCS 3151812.7
          Case 3:17-cv-01767-VAB Document 20 Filed 12/29/17 Page 8 of 25




the same as Hybrid’s,” Doc. No. 1, ¶48, Plaintiff did nothing to prevent injury to it from the

allegedly infringing activities between April 2012 (when it claims it discovered Hylete’s use of

its marks) and Plaintiff’s filing of the complaint on October 23, 2017.

        Further, Plaintiff’s unfair competition claim, which is based on a theory of “passing off”

or “palming off” fails because it does not allege such “fraudulent conduct” with specificity, as

that term has been interpreted by the United States Supreme Court in Dastar Corp. v. Twentieth

Century Fox Film Corp., 539 U.S. 23, 123 S. Ct. 2041, 156 L. Ed. 2d 18 (2003). To the extent

the Complaint alleges “reverse passing off”, the claim still cannot stand because it is preempted

by the Copyright Act, 17 U.S.C. § 301, which exclusively governs “all legal and equitable rights

that are equivalent to any of the exclusive rights within the general scope of copyright… and

come within the subject matter of copyright.” 17 U.S.C. § 301.

        Finally, in the event the Court is inclined to entertain any of Plaintiff’s claims, despite the

stringent statutory bar, the Court should transfer this matter to the United States District Court

for the Southern District of California, which is the appropriate forum for the action, because the

operative facts arise from there. In addition to this and other factors, the Southern District of

California is the appropriate forum because substantially all of Hylete’s evidence and witnesses

are located in that district.

                                                 II.

                 RELEVANT FACTS ALLEGED IN PLAINTIFF’S COMPLAINT

        Plaintiff’s Complaint, which the Court must accept as true for purposes of testing its

sufficiency, alleges the following relevant facts.


        Plaintiff Hybrid Athletics is a company owned by Robert Orlando. Doc. No. 1, at ¶13.

Hybrid Athletics offers and conducts various fitness and health services. Doc. No. 1, at ¶10.



                                                     2
DOCS 3151812.7
           Case 3:17-cv-01767-VAB Document 20 Filed 12/29/17 Page 9 of 25




Hybrid Athletics also sells fitness apparel and fitness training equipment. Id. at ¶10. The

company’s fitness apparel bears the Hybrid Athletics’ marks. Id. at ¶29. Since 2008, Hybrid

Athletics has sold, promoted and continues to sell and promote its apparel bearing its marks. Id.

at ¶31.

          Defendant Hylete is a manufacturer, distributor and seller of athletic clothing apparel.

Doc No. 1, at ¶47. Hylete targets the same consumers as Hybrid’s because Hylete markets and

distributes its goods to the CrossFit community and to those interested in fitness in general. Id. at

¶48. Hylete competes with Hybrid Athletics. See id. Hylete sells the infringing products at

physical locations and through its website www.hylete.com. Id. at ¶50. Hylete has two pending

federal trademark applications: Application Serial No. 85,837,045; and 87,339,360. Id. at ¶51.

Hylete is also the owner of a federal trademark registration – Registration No. 4,318,646. Id. at

¶52. Hylete’s mark as represented in Application Serial No. 85,837045 and Hylete’s registered

mark as represented in Registration No. 4,318.6464 are referred to as the “Hylete marks.” Id., at

52.

          The complaint alleges that Hylete has extensively used the Hylete marks, and other marks

since at least April 2012 and, in April 2012, Plaintiff alleges it discovered Hylete’s plans to

promote, advertise, distribute, offer for sale, and sell clothing and apparel bearing the Hylete

marks. Doc. No. 1, at ¶¶60-61. Plaintiff further alleges that it “immediately” contacted Hylete

and objected to Hylete’s use of the marks because those marks were confusingly similar to the

Hybrid Athletics’ marks. Id. at ¶62. In spite of the objections, Hylete continued to use the Hylete

marks. Id. at ¶63. To date, Hylete continues to use the Hylete marks. Id. at ¶70. Since Hylete’s

formation in 2012, there have been “multiple instances of actual confusion” between Hylete’s

marks and Hybrid Athletics’’ marks. Id. at ¶73. Because of Hylete’s use of the Hylete marks,




                                                 3
DOCS 3151812.7
         Case 3:17-cv-01767-VAB Document 20 Filed 12/29/17 Page 10 of 25




Hybrid Athletics has been and continues to be harmed. Id. at ¶75-79. Hylete disputes these

allegations but recites them here to demonstrate the invalidity of Plaintiff’s claims.

                                                III.

                                           ARGUMENT

        A complaint is subject to dismissal for failure to state a claim if the allegations, taken as

true, show that the plaintiff is not entitled to the relief sought. See Bell Atl. Corp. v. Twombly,

550 U.S. 544, 557 (2007) (interpreting Rule 12(b)(6) to require allegations that show the pleader

is entitled to relief). If, for example, the allegations show that the statute of limitations has run,

the complaint may be dismissed under Rule 12(b)(6). Jones v. Bock, 549 U.S. 199, 215, 127 S.

Ct. 910, 920, 166 L. Ed. 2d 798 (2007); Ghartey v. St. John’s Queens Hosp., 869 F.2d 160, 162

(2d Cir. 1989). In adjudicating a Rule 12(b)(6) motion, a district court must accept all facts

alleged in the complaint. Crawford v. Cuomo, 796 F.3d 252, 256 (2d Cir. 2015). However, the

court need not accept conclusory statements or threadbare recitals of the elements of a cause of

action. Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).

        A.       All Of Plaintiff’s Claims Are Barred By The Statute Of Limitations And / Or
                 Other Defects

                 1.    Count I For Federal Trademark Infringement, Count II For False

                       Designation Of Origin And Unfair Competition, And Count IV For

                       Common Law Trademark Infringement Are Barred By The Statute Of

                       Limitations

        Count I and Count II of Plaintiff’s Complaint arise under the Lanham Act.

        The Second Circuit and other federal courts of appeal recognize that the Lanham Act

does not have a statute of limitations, but rather borrows the statute of limitations for the most

closely analogous state law. Conopco, Inc. v. Campbell Soup Co., 95 F.3d 187, 193 (2d




                                                  4
DOCS 3151812.7
         Case 3:17-cv-01767-VAB Document 20 Filed 12/29/17 Page 11 of 25




Cir.1996) In Connecticut, the most closely analogous law is Connecticut’s three year statute of

limitations for fraud. Argus Research Grp., Inc. v. Argus Media, Inc., 562 F. Supp. 2d 260, 273

(D. Conn. 2008). Like the Lanham Act, the statute of limitations for Common Law trademark

infringement claims whether based on state or federal Common Law, is three years. See CSL

Silicones Inc. v. Midsun Grp. Inc., 170 F. Supp. 3d 304, 316 (D. Conn. 2016), reconsideration

denied, No. 3:14-CV-01897 (CSH), 2016 WL 3566188 (D. Conn. June 27, 2016) (noting that

Connecticut courts apply the three-year statute of limitations for fraud in trademark infringement

disputes).

        In Connecticut, a trademark infringement claim accrues when a plaintiff first knows or

has reason to know of the injury from which the claim arises. RBC Nice Bearings, Inc. v. Peer

Bearing Co., 410 F. App’x 362, 366–67 (2d Cir. 2010). A plaintiff may not successfully claim

that each additional instance of infringement, after the first known infringement renews the

limitations period. See id.

        By its own allegations here, Plaintiff’s Lanham Act and Common Law trademark

infringement claims accrued at least as early as April 2012, which is well outside the applicable

three-year limitations period. Plaintiff unequivocally alleges that over five years ago – in April

2012, it was on notice of Hylete’s alleged, extensive use of the mark, and it immediately

contacted Hylete objecting to the use of the mark because it was “confusingly similar to the

Hybrid Marks.” Doc. No. 1, at ¶¶59-62. Plaintiff alleges that Hylete’s use of the mark has been

extensive. Id., at ¶¶59, 60, 110. In addition, Plaintiff alleges that there have been multiple

instances of actual confusion between Hylete’s mark and Hybrid Athletics’ mark since Hylete’s

formation on March 26, 2012. Id., at ¶73. Plaintiff additionally represents that like Hylete, it sells

athletic apparel. Id. at ¶29, 47. Plaintiff alleges that it competes with Hylete and that its products




                                                  5
DOCS 3151812.7
         Case 3:17-cv-01767-VAB Document 20 Filed 12/29/17 Page 12 of 25




are in proximity with Hylete’s products in the market place. Id. at ¶48 (“… Hylete’s target

consumers are the same as Hybrid’s.”); id., at ¶73-79 (describing Hylete’s use of the marks in the

marketplace which has led to confusion sand has harmed Plaintiff).

        The unequivocal allegations that: (1) Plaintiff was aware of Hylete’s alleged extensive

and open use of the Hylete marks at least as early as April 2012; (2) Plaintiff has been aware of

ongoing instances of allegedly actual confusion since around March 26, 2012; (3) Plaintiff sells

similar products and allegedly competes in the same market as Hylete; and (4) there is a

purported proximity of products from Hylete and Hybrid Athletics in the market, which is likely

to cause confusion, all point to one inevitable finding that, accepting Plaintiff’s allegations as

true, Plaintiff had actual and constructive knowledge of the facts that purportedly gave rise to its

claims by March 26, 2012 but no later than April 30, 2012. Based on this, Plaintiff should have

instituted any action on or before April 30, 2015. Because Plaintiff did not bring its Lanham Act

and Common Law trademark infringement claims until October 23, 2017, the claims are barred

by the three-year statute of limitations.


                 2.    Count III For Statutory Unfair Competition Is Barred By The Statute Of

                       Limitations, Is Not Pleaded With Particularity, And Is Preempted By The

                       Copyright Act

        First, Plaintiff’s claim for unfair competition under Conn. Gen. Stat. 42-110 (“CUTPA”)

should be dismissed because it relies exclusively on the Lanham Act claims, which must fall

because of the limitations defenses and laches. Peck v. Pub. Serv. Mut. Ins. Co., 114 F. Supp. 2d

51, 57 (D. Conn. 2000) (citing Lees v. Middlesex Ins. Co., 229 Conn. 842, 851, 643 A.2d 1282,

1286 (1994) for the proposition that CUTPA claims cannot survive if the underlying claim fails.)

See e.g., RBC Nice Bearings, Inc. v. Peer Bearing Co., 410 F. App’x 362, 366–67 (2d Cir. 2010)




                                                 6
DOCS 3151812.7
         Case 3:17-cv-01767-VAB Document 20 Filed 12/29/17 Page 13 of 25




(affirming dismissal of the plaintiff’s state law claims which relied on the limitations-barred

trademark infringement claims)

        Even assuming Plaintiff’s trademark infringement claims could survive the limitations

and laches defenses, the CUTPA claim cannot survive under prevailing law in this district.

CUTPA has a statute of limitations of three years. Conn. Gen. Stat. § 42-110g(f); Fichera v.

Mine Hill Corp., 207 Conn. 204, 216–17, 541 A.2d 472, 477–78 (1988). Further, CUTPA is an

“occurrence” statute meaning that the claim is ripe for adjudication at the time of the first

occurrence of an actionable wrong, not at the time the Plaintiff discovers such wrong. Argus

Research Group v. Argus Media, 562 F. Supp. 2d 260, 280 (D. Conn. 2008). Additionally,

CUTPA claims do not accrue at each instance of a defendant’s continuing conduct in trademark

cases. CSL Silicones, 170 F. Supp. 3d at 314 (“CUTPA claims sounding in trademark do not

accrue as to each use of a plaintiff’s mark, especially where the plaintiff had previous knowledge

of the earlier infringement.”).

        Plaintiff’s CUTPA claim sounds in trademark. See Doc. No.1, ¶¶99-100 (referring to the

Lanham Act claims as the basis of the CUTPA claims); id., at ¶¶101 (alleging “palming off”); id.

at ¶ 102 (alleging that Hylete’s acts of “palming off” its goods permit and accomplish, confusion,

mislead, and deceive the public as to the course of Hylete’s goods.). As noted above, Plaintiff

alleges that by April 2012, it was on notice of Hylete’s alleged use of the Hylete marks. Plaintiff

alleges that it immediately notified Hylete of its dissatisfaction with Hylete’s use of the Hylete

marks. Doc. No. 1, at ¶¶61-62. Plaintiff however did not bring suit until more than five years

later on October 23, 2017. While Plaintiff might argue that each instance of Hylete’s conduct

occurring in the three years preceding suit was a separate actionable violation, this “separate

accrual” rule, does not apply to either trademark infringement claims or CUTPA claims based on




                                                7
DOCS 3151812.7
         Case 3:17-cv-01767-VAB Document 20 Filed 12/29/17 Page 14 of 25




trademark infringement. RBC Nice Bearings, Inc., 676 F. Supp. 2d at 35. Because the separate-

accrual theory does not apply to Plaintiff’s Lanham Act claims and the CUTPA claim based on

the same, the claim must be dismissed.

        Second, Plaintiff’s claim for unfair competition under Conn. Gen. Stat. 42-110 should be

dismissed because it is not pleaded with particularity. When a plaintiff bases a CUTPA claim on

fraud or fraudulent conduct, a plaintiff must satisfy the particularity requirements of Fed. R. Civ.

P. 9(b). In re Trilegiant Corp., Inc., 11 F. Supp. 3d 82,120 (D. Conn. Mar. 28, 2014); See also

Aviamax Aviation Ltd. v. Bombardier Aerospace Corp., 3:08-cv-1958(CFD), 2010 WL 1882316,

at *9 (D. Conn. May 10, 2010) (“When a plaintiff in federal court bases a CUTPA claim on

fraud allegations, the plaintiff must satisfy the particularity requirement of Federal Rule of Civil

Procedure 9(b).”).

        While Plaintiff incorporates by reference each of its preceding allegations under this

cause of action, the entirety of Plaintiff’s CUTPA claim is the same “fraudulent

misrepresentation” pleaded in ambiguous terms littered throughout the Complaint. See e.g., Doc.

No. 1, at ¶¶101-102 (alleging “palming off” by Hylete); id., at ¶¶47-62 (describing Hylete’s

trademark infringement activities); id., at ¶¶72-78 (describing how Hylete’s activities have led to

confusion in the marketplace). In sum, the Complaint is littered with allegations of Hylete’s

purported conduct, but does not include any particular fraudulent misrepresentation facts as

required under Federal Rule of Civil Procedure 9(b). As the Supreme Court instructs, labels

alone are insufficient.

        Passing off or palming off, in its classic sense occurs where “A” purports to sell A’s

products as another person or entity “B”‘s products. Dastar Corp. v. Twentieth Century Fox Film

Corp., 539 U.S. 23, 27, 123 S. Ct. 2041, 2044–45, 156 L. Ed. 2d 18 (2003). Plaintiff does not




                                                 8
DOCS 3151812.7
         Case 3:17-cv-01767-VAB Document 20 Filed 12/29/17 Page 15 of 25




allege this. While it ascribes the label of “palming off” to this claim, the Complaint does not

contain a single concrete non-conclusory allegation that even suggests that Hylete made any

actual misrepresentation about the source of its goods. At most here, Plaintiff only alleges that

Hylete sold Hylete’s own products under Hylete’s own brand in the hope of trading off of any

similarity between its marks and Hybrid Athletics’ marks. This is not passing off. Because

Plaintiff’s claim is based on this, Plaintiff has not alleged its CUTPA claim with particularity.

        Third, Plaintiff’s CUTPA claim should be dismissed even if it is based on “reverse

passing off” under section 43(a) of the Lanham Act because such claims are preempted by the

Copyright Act. See Frontier Grp., Inc. v. Nw. Drafting & Design, Inc., 493 F. Supp. 2d 291, 299

(D. Conn. 2007) (noting that the Copyright Act, 17 U.S. Code § 301 preempts unfair competition

and misappropriation claims grounded in a plaintiff’s original works or expressions); A Slice of

Pie Productions v. Wayans Bros. Entertainment, 392 F. Supp. 2d 297, 313 (D. Conn. 2005)

(same); Dastar, 539 U.S. at 37 (noting that “the phrase “origin of goods” under section 43(a) in

the Lanham Act “refers to the producer of the tangible goods that are offered for sale, and not to

the author of any idea, concept, or communication embodied in those goods.”) (emphasis

added).; see also, 1 Nimmer on Copyright § 1.01(B)(1)(e) (“[If] B is selling B’s products and

representing to the public that they are A’s, that is passing off. If by contrast, B is selling B’s

products and representing to the public that they are B’s, that is not passing off. A claim that the

latter activity is actionable [as a deceptive trade practice cause of action] because B’s product

replicates A’s, even if denominated ‘passing off,’ is in fact a disguised copyright infringement

claim, and hence preempted.”).

        Here, as noted above, Plaintiff’s CUTPA claim merely ascribes the label of palming off

or passing off, but does not allege the facts that indicate such. Plaintiff only alleges that Hylete’s




                                                  9
DOCS 3151812.7
         Case 3:17-cv-01767-VAB Document 20 Filed 12/29/17 Page 16 of 25




marks, which are allegedly confusingly similar to Plaintiff’s, has led to confusion in the market

place and are likely to cause further confusion as to the source of the goods sold. But, Plaintiff

does not allege that Hylete sold Hylete’s products and claimed that they originate from Plaintiff.

Plaintiff’s CUTPA claim is a disguised copyright claim and is preempted by the Copyright Act

because, at its essence, it simply asserts that Plaintiff copied and/or modified Hylete’s mark and

placed the generated similar mark on its products, and thereby led to confusion. The claim comes

“within the subject matter” of the Copyright Act and is therefore preempted.


                 3.    Count V For Unjust Enrichment Is Barred By The Statute Of Limitations

        Plaintiff’s unjust enrichment claim must fail because of the inescapable defects

illuminated by the limitations defense. The statute of limitations for unjust enrichment is three

years for any actions sounding in tort. Conn. Gen.Stat. § 52-577. See Certain Underwriters at

Lloyd’s, London v. Cooperman, 957 A.2d 836, 850 (Conn. 2008) (unjust enrichment claims

based on the same allegations as other tort claims are subject to the same three-year statute of

limitations).

        In its unjust enrichment claim, Plaintiff incorporates by reference all its prior allegations.

Doc. No. 1, ¶108. Plaintiff thereafter simply reiterates the same substance of its earlier

allegations. As noted above, in addressing Plaintiff’s unfair competition claims under Conn. Gen.

Stat. 42-110, Plaintiff’s common law unjust enrichment claims which flow from the same

conduct alleged for the trademark infringement and related claims must fail because they are

statutorily barred.

        B.       Claims I Through V Are Also Barred By The Doctrine Of Laches.

        Laches operates to bar suit by a plaintiff who does not promptly seek legal redress for

alleged wrongs. To prove laches in the trademark infringement context, a defendant must prove




                                                 10
DOCS 3151812.7
         Case 3:17-cv-01767-VAB Document 20 Filed 12/29/17 Page 17 of 25




that the plaintiff had knowledge of defendant’s use of its marks, the plaintiff delayed in bringing

an action for infringement, and that permitting the plaintiff to assert its rights so late in time

would cause unfair prejudice. Saratoga Vichy Spring Co., Inc. v. Lehman, 625 F.2d 1037, 1040

(2d Cir. 1980). When the applicable statute of limitations has passed, the presumption of laches

applies and a plaintiff seeking legal redress must rebut that presumption. Conopco, Inc. v.

Campbell Soup Co., 95 F.3d 187, 191 (2d Cir. 1996). While not a complete bar to recovery for a

properly instituted claim in all instances, a successful laches defense bars recovery of damages

accrued prior to filing suit. A.C. Aukerman Co. v. R.L. Chaides Constr. Co., 960 F.2d 1020, 1028

(Fed. Cir. 1992). In this case, Connecticut’s three-year statute for fraud actions applies. RBC

Nice Bearings, Inc. v. Peer Bearing Co., 410 Fed. Appx. 362, 367 (2d Cir. 2010).

        Plaintiff’s own allegations show that it had knowledge of Hylete’s alleged use of the

purportedly infringing marks, as early as April 2012. Plaintiff did not institute suit within the

next three years. The presumption of laches applies. Rather than institute suit at an earlier time

before the expiration of the limitations period in 2015, Plaintiff waited five years, watching as

Hylete devoted more and more resources to developing its branded products, and earning

consumer goodwill. Plaintiff cannot reasonably offer any evidence rebutting the presumption of

its unreasonable delay of more than five years before filing suit.

        Plaintiff also cannot rebut the presumption of prejudice to Hylete resulting from

Plaintiff’s unreasonable delay. Indeed, had Plaintiff timely instituted suit at an earlier time,

Hylete would have had an opportunity to make any necessary changes to its formation,

marketing, and naming strategies.




                                                 11
DOCS 3151812.7
         Case 3:17-cv-01767-VAB Document 20 Filed 12/29/17 Page 18 of 25




        C.       In The Alternative, This Court Should Transfer Venue To The Southern
                 District Of California

        The propriety of a forum is a threshold matter that federal courts must consider before

addressing the merits of an action. Adam v. Jacobs, 950 F.2d 89, 92 (2d Cir. 1991). 28 U.S.C. §

1404(a) provides that “[f]or the convenience of parties and witnesses, in the interest of justice, a

district court may transfer any civil action to any other district or division where it might have

been brought or to any district or division to which all parties have consented.” 28 U.S.C. §

1404(a).

        The district court has broad discretion to transfer an action, and may consider factors

such as: (1) the plaintiff’s choice of forum, (2) the convenience of witnesses, (3) the location of

relevant documents and relative ease of access to sources of proof, (4) the convenience of

parties, (5) the locus of operative facts, (6) the availability of process to compel the attendance of

unwilling witnesses, [and] (7) the relative means of the parties. D.H. Blair & Co. v. Gottdiener,

462 F.3d 95, 106-07 (2d Cir. 2006). Court also consider: (8) the forum’s familiarity with the

governing law; and (9) whether trial efficiency and the interests of justice would be best served

in light of the totality of the circumstances. Because none of these factors is dispositive, the court

has broad discretion on whether to permits transfer.


                 1.    This Action Could Have Been Brought In The Southern District Of

                       California.
        In the absence of a forum selection clause, such as here, a district court must address the

threshold issue of whether a case could have been brought in the transferee forum. Rest. Supply,

LLC v. Pride Mktg. & Procurement, Inc., No. 3-16-CV-1270 (MPS), 2017 WL 3444677, at *3

(D. Conn. Aug. 10, 2017). Hylete satisfies this 28 U.S.C. § 1404(a) threshold inquiry. It is

undisputed that this predominantly federal trademark infringement case could have been brought



                                                 12
DOCS 3151812.7
         Case 3:17-cv-01767-VAB Document 20 Filed 12/29/17 Page 19 of 25




in the Southern District of California where Plaintiff acknowledges Hylete is incorporated. As

addressed below, the other factors favor transferring this action to the Southern District of

California.


                 2.     Transfer Is Appropriate Because Plaintiff’s Choice Of Forum Here Is Of

                        Little Weight

        While given great weight ordinarily, “[a] plaintiff’s choice of forum receives less

deference … when the locus of operative facts is elsewhere.” Open Solutions Inc. v. Granite

Credit Union, No. 3:12-CV-1353 RNC, 2013 WL 5435105, at *4 (D. Conn. Sept. 29, 2013).

Plaintiff here chose to bring suit in the District Court of Connecticut. As addressed below

however, because the locus of operative facts is in the Southern District of California, this factor

is of little weight in the inquiry.


                 3.     Transfer Is Appropriate Because The Locus Of Operative Facts Is In The
                        Southern District Of California

        The locus of operative facts is a very important factor in a transfer analysis. Charter Oak

Fire Ins. Co. v. Broan-Nutone, LLC, 294 F. Supp. 2d 218, 220 (D. Conn. 2003). To determine

the locus, the court must look to the site of the events from which the claim arises. Id. In

trademark infringement cases, the locus of operative facts is where the misrepresentations or

omissions occurred, not where they were received. MAK Marketing, Inc. v. Kalapos, 620 F.

Supp. 2d 295 (D. Conn. 2009). See e.g., 800-Flowers, Inc. v. Intercontinental Florist, Inc., 860

F. Supp. 128, 135 (S.D.N.Y. 1994) (passing off occurred where misrepresentations were made,

not where confused customers called from); Citigroup Inc. v. City Holding Co., 97 F. Supp. 2d

549,563 (S.D.N.Y. 2000) (no single locus of operative facts where allegations suggested

confusion occurred in more than one state). Here, the alleged locus for the trademark



                                                13
DOCS 3151812.7
            Case 3:17-cv-01767-VAB Document 20 Filed 12/29/17 Page 20 of 25




infringement, passing off, and related claims is the Southern District of California, where Hylete

is incorporated and where Plaintiff alleges Hylete has an address. Plaintiff does not specifically

allege a single operative fact that occurred in Connecticut. This factor thus weighs in favor of

transfer.


                 4.    The Convenience Of Witnesses Who Will Be Required To Offer

                       Testimony Favors Transfer

        The convenience of the witnesses is “[t]he single most important factor” in a § 1404(a)

motion to transfer. See Sutton v. Rehtmeyer Design Co., 114 F.Supp.2d 46, 50 (D.Conn.2000).

The witnesses who will most be relevant in this case are all likely in California where Hylete is

incorporated and conducts the bulk of its business. Plaintiff’s own complaint gives an indication

of the witnesses, who are associated with Hylete who will likely offer testimony in this action.

Those witnesses include Hylete’s founders who Plaintiff identifies in the Complaint, the

principals or former principals of JACO who Plaintiff identifies in the Complaint, JACO’s

employees or former employees who Plaintiff refers to in the Complaint, the principals or

employees of Hylete and employees of Hylete. In sum, based on Plaintiff’s Complaint, the bulk

of the testimony about the alleged infringement will come from Hylete, which is located in the

Southern District of California. Additionally, it is unlikely that Plaintiff would have many

witnesses from Hybrid Athletics other than Robert Orlando, who “is responsible for all aspects

of the business, including advertising, sales and finances.” Doc. No. 1, at ¶13. Accordingly, this

factor weighs in favor of transfer.


                 5.    The Location Of Documents And Ease Of Access To Proof Favors
                       Transfer

        Similarly, because Hylete conducts its business in California, the bulk of the documents



                                               14
DOCS 3151812.7
         Case 3:17-cv-01767-VAB Document 20 Filed 12/29/17 Page 21 of 25




and evidence is reasonably expected to be in the Southern District of California. See e.g., Rest.

Supply, LLC v. Pride Mktg. & Procurement, Inc., No. 3-16-CV-1270 (MPS), 2017 WL 3444677,

at *5 (D. Conn. Aug. 10, 2017) (business records presumably in defendant’s forum state).

Additionally, in infringement cases especially such as here, it makes sense that the bulk of

evidence comes from the accused infringer. Like in many trademark infringement cases, Plaintiff

will likely seek documents pertaining to Hylete’s marketing, sales, solicitations, shipments, and

other matters. All these documents are at Hylete’s offices. This factor weighs in favor of transfer.


                 6.     The Court’s Familiarity With The Governing Law Does Not Affect The

                        Transfer Analysis

        “Federal courts are accustomed in diversity actions to applying laws foreign to the law of

their particular State.” Pitney Bowes, Inc. v. Nat’l Presort, Inc., 33 F.Supp.2d 130, 132

(D.Conn.1998). This case’s central premise is the federal trademark infringement claim by

Hybrid Athletics. Like other federal courts, the Southern District of California is as equipped as

this Court to adjudicate this matter. This factor is neutral.


                 7.     The Relative Means Of The Parties Who Are Both Corporations Does Not
                        Affect The Transfer Analysis

        Where litigating in a foreign state may adversely affect one party, the court may transfer

or retain the matter based on the financial means of the parties. Here, both Plaintiff and

Defendant are corporations. According to its allegations, Plaintiff has two physical gym

locations, and has a national presence. Plaintiff is not of limited means and can afford litigating

in California. This factor is neutral.




                                                  15
DOCS 3151812.7
         Case 3:17-cv-01767-VAB Document 20 Filed 12/29/17 Page 22 of 25



                 8.    The Availability Of Process To Compel Unwilling Non-Party Witnesses

                       Weighs In Favor Of Transfer

        Plaintiff’s Complaint identifies and in some instances names parties who Plaintiff alleges

were employees of JACO, individuals who managed Hybrid Athletics’ account when it worked

with JACO, individuals who solicited Plaintiff in the hope of securing a co-branding deal, among

other factors. Doc. No. 1, at ¶¶40-42, 45. Plaintiff however does not identify all these as

defendants or party witnesses of Hylete. To the extent the Court will need to compel any of these

witnesses to testify, the Southern District of California, where they purportedly engaged in the

conduct that affected Plaintiff in its business would be the proper forum to address Plaintiff’s

claims because the Court can compel their attendance or participation in the litigation pursuant to

Fed.R.Civ.P. 45(c). This factor weighs in favor or transfer. To the extent no third party witnesses

will be involved in this action, or to the extent those witnesses reside in a state other than

Connecticut or California, this factor is, at a minimum, neutral.

        In light of all the factors, the totality of the circumstances indicates that the United States

District Court for the Southern District of California would be an appropriate venue to resolve

this matter.

                                                IV.

                                          CONCLUSION

        With its unequivocal allegations in the Complaint, which are buttressed by the evidence

attached to the Complaint, Plaintiff cannot offer a plausible basis to avoid the statute of

limitations from applying to its trademark infringement and false designation of origin and unfair

competition claims. Because those claims form a predicate of Plaintiff’s other claims, and for the

other reasons addressed, this Court should conclude that dismissal of all causes of action is

proper and warranted. In the event that the statute of limitations is not a complete bar to


                                                  16
DOCS 3151812.7
         Case 3:17-cv-01767-VAB Document 20 Filed 12/29/17 Page 23 of 25




Plaintiff’s claims, in light of Plaintiff’s unreasonable delay in instituting suit, Hylete asks that the

Court make a finding limiting the damages that Plaintiff claims to only those damages accrued or

accruing after Plaintiff filed suit in this matter. Further, because the locus of operative facts and

other factors weigh in favor of an equitable transfer of this action, if this Court is inclined to

maintain Plaintiff’s late-filed claims, or in the event the Court is not inclined to address the

sustainability of those claims at this time, the Court should exercise its discretion and transfer the

action to the Southern District of California.




                                                  17
DOCS 3151812.7
         Case 3:17-cv-01767-VAB Document 20 Filed 12/29/17 Page 24 of 25




                                      Respectfully Submitted,



Date: December 29, 2017               By: /s/ Thomas J. Mango         .
                                      Thomas J. Mango, ct28149
                                      Michael J. Rye, ct18354
                                      Cantor Colburn LLP
                                      20 Church Street, 22nd Floor
                                      Hartford, Connecticut 06103
                                      Telephone: (860) 286-2929
                                      Facsimile: (860) 286-0115
                                      Email: tmango@cantorcolburn.com
                                              mrye@cantorcolburn.com

                                      Of Counsel,
                                      Pro Hac Vice Admissions Pending

                                      Dave Deonarine, SBN 243733
                                      Pattric J. Rawlins, SBN 205160
                                      Nicholas S. Kawuka, SBN 297579
                                      Procopio, Cory, Hargreaves & Savitch LLP
                                      12544 High Bluff Drive, Suite 300
                                      San Diego, CA 92130
                                      Tel: (858) 720-6300
                                      Fax: (619) 398-0173
                                      Email: dave.deonarine@procopio.com
                                                pattric.rawlins@procopio.com
                                                nicholas.kawuka@procopio.com

                                      Attorneys for the Defendant




                                       18
DOCS 3151812.7
         Case 3:17-cv-01767-VAB Document 20 Filed 12/29/17 Page 25 of 25




                                 CERTIFICATE OF SERVICE

        I hereby certify that on December 29, 2017 a copy of the foregoing document was filed

electronically and served by mail on anyone unable to accept electronic filing. Notice of this

filing will be sent by e-mail to all parties by operation of the Court’s electronic filing system or

by mail to anyone unable to accept electronic filing as indicated on the Notice of Electronic

Filing. Parties may access this filing through the Court’s CM/ECF System.


                                                       /s/ Thomas J. Mango            .
                                                         Thomas J. Mango




                                                 19
DOCS 3151812.7
